                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                 Chapter 11

    MALLINCKRODT PLC, et al.,1                             Case No. 20-12522 (JTD)

                             Reorganized Debtors.          (Jointly Administered)


                         NOTICE OF AGENDA OF MATTERS
             SCHEDULED FOR HEARING ON NOVEMBER 9, 2022 AT 1:00 P.M. (ET)


                     THE BELOW LISTED MATTER HAS BEEN RESOLVED.
                       THE COURT HAS CANCELLED THE HEARING.


RESOLVED MATTER

1.           Motion of General Unsecured Claims Trustee for Entry of Order Authorizing and
             Approving the Settlement Agreement Among the General Unsecured Claims Trustee, the
             Reorganized Debtors, and the Glenridge Principals [Filed: 10/12/22] (Docket No. 8265).

             Response Deadline:    October 26, 2022 at 4:00 p.m. Eastern Time.

             Responses Received: None.

             Related Documents:

             (a)    Certification No Objection Regarding Motion of General Unsecured Claims
                    Trustee for Entry of Order Authorizing and Approving the Settlement Agreement
                    Among the General Unsecured Claims Trustee, the Reorganized Debtors, and the
                    Glenridge Principals [Filed: 10/27/22] (Docket No. 8355).

             (b)    [Signed] Order Authorizing and Approving the Settlement Agreement Between
                    the General Unsecured Claims Trustee, the Reorganized Debtors, and the
                    Glenridge Principals [Filed: 10/28/22] (Docket No. 8357).

             Status: The order has been entered. No hearing will be necessary.




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 A complete list of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of the
Reorganized Debtors’ claims and noticing agent at http://restructuring.ra.kroll.com/Mallinckrodt. The Reorganized
Debtors’ mailing address is 675 McDonnell Blvd., Hazelwood, Missouri 63042.


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Dated: November 4, 2022      PACHULSKI STANG ZIEHL & JONES LLP
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